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                    IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

THE COLONIAL BANCGROUP       )
INC., and KEVIN O’HALLORAN   )
                             )
         Plaintiff,          )
                             )
      v.                     )
                             ) CASE NO. 2:11-cv-746-WKW-TFM
                             )
PRICEWATERHOUSECOOPERS LLP   )
and CROWE HORWATH LLP,       )
                             )
         Defendants.         )
                              )
                             )
FEDERAL DEPOSIT INSURANCE    )
CORPORATION AS RECEIVER FOR  )
COLONIAL BANK,               )
                             )
             Plaintiff,      )
                             ) CASE NO. 2:12-cv-957-WKW-TFM
      v.                     )
                             )
PRICEWATERHOUSECOOPERS LLP   )
and CROWE HORWATH LLP        )
                             )
             Defendants.     )
                           ORDER

        This is a professional negligence action brought by the Federal Deposit Insurance

Corporation as Receiver for Colonial Bank, (“FDIC-R”) which arises out of a fraud

committed       against      Colonial      Bank        (“Colonial”) 1     that     occurred      while

PriceWaterhouseCoopers LLP (“PWC”) and Crowe Horwath LLP (“Crowe”) co-

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  The Parties refer to Colonial Bank and Colonial Bank Group (“CBG”) throughout the motions and
responses. For simplicity sake the court may at times in this Order refer to both Colonial Bank and CBG
as “Colonial”.

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defendants, were auditors for Colonial. Before this Court is Plaintiff’s Motion to Compel

against Defendant PriceWaterhouseCoopers LLP (Doc. 167) to which PWC has

responded (Doc. 175), the FDIC has replied (Doc. 179) and PWC has filed a sur-reply

(Doc. 184). In its Motion, the FDIC seeks three categories of documents from PWC – (1)

Public Company Accounting Oversight Board (“PCAOB”) inspections from 2005 til

present involving Colonial, Colonial Bank Group (“CBG”) and FAS 140, excluding any

documents protected by Section 105(b) of the Sarbanes-Oxley Act of 2002; (2) PWC

National Office documents concerning sales treatment accounting of financial assets from

2005 forward; (3) PWC internal guidance and training manuals.

       On October 21, 2015, this Court held a hearing on this Motion. At the hearing,

counsel discussed the concept of sales treatment accounting, known as FAS 140, and

explained generally that it seeks to distinguish whether transactions are classified as a

“sale or loan”. (Tr. 66). Further counsel explained that the PCAOB promulgates the

auditing standards known as the Generally Accepted Auditing Standards (“GAAS”) and

conducts inspections of and disciplinary proceedings against public accounting

companies. No orders on proceedings are published unless sanctions are imposed. (Tr.

85-87). Counsel for PWC stated that there are no orders from the PCAOB “against

anybody from PWC related to the Colonial audits.” (Tr. 87).

       The Rules of Civil Procedure provide that parties may obtain discovery regarding

any matter, not privileged, that is relevant to the claim or defense of any party. Fed. R.

Civ. P. 26(b)(1). Relevance, for purposes of discovery, is defined broadly to include any

matter that “bears on, or that reasonably could lead to other matter that could bear on, any

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issue that is or may be in the case.” Oppenheimer Fund, Inc., v. Sanders, 437 U.S. 340,

351 (1978). When a party withholds discoverable information on the basis of a privilege,

the party must “describe the nature of the documents, communications, or tangible things

not produced or disclosed . . . without revealing information itself privileged or

protected.” Fed. R. Civ. P. 26(b)(5)(A). 2

       The Court will address each category of documents sought in the Motion to

Compel below.

       1. PCAOB Documents

       After serving its original document request on PWC, the FDIC agreed to narrow

its request as follows:

           The FDIC seeks all “[d]ocuments relating to PCAOB inspections from 2005
           through present involving either CBG, Colonial Bank, FAS 140, the detection
           of fraud, or the obtaining of competent evidential matter to afford a reasonable
           basis for an opinion regarding the financial statements under an audit. This
           request does not include materials protected by 15 U.S.C. § 7215(b)(5)(A), as
           defined in S.E.C. v. Goldstone, 301 F.R.D. 593 (D.N.M. 2014).

PWC refused to produce any documents, stating that “PWC will not produce documents

relating to any PCAOB inspection of any client.” (Doc. 167 at p. 5). Based upon

argument of counsel, the Court understands the dispute before it to revolve, in part,

around whether the FDIC is entitled to discover the documents requested above with

respect to PWC’s “other clients.” 3


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  The Court is aware that Amendments to the Federal Rules of Civil Procedure became effective on
December 1, 2015. However, because this Motion was filed prior to that date, the Amendments are not
technically applicable to the Court’s consideration of this Motion. However, no rule of law prevents the
Court from referring to the amended rules as guidance for resolution of issues presented in this Motion.
3
   This dispute concerning “other client” information is also applicable to the second category of
documents included in this motion – PWC National Office documents.

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       PWC first argues that the motion to compel is due to be denied because these

documents are irrelevant to this case as the audit in issue involves only Colonial. Further,

PWC argues that since “[n]o two audits are alike. Each audit client and each financial

statement audit is different” and evidence pertaining to audits performed by PWC for

clients other than Colonial is “irrelevant [and] . . . invites confusion and distraction.”

(Doc. 175 at p. 9). PWC asks this Court to analogize the instant situation to a medical

malpractice situation where the state court denied the request for documents reflecting

the doctor-defendant’s treatment of other patients because actions in prior medical cases

involving different patients with different risks were not relevant. See Lykes v. Yates, 77

A.3d 27, 31 (Pa. Super. Ct. 2013); see also, Ex parte Anderson, 789 So. 2d 190, (Ala.

Dec. 22, 2000) (recognizing statutory prohibition on discovery of “other incidents” in

physician malpractice cases). On the other hand, the FDIC cites to several cases in

contexts also different from the case at bar where courts ordered production of

information pertaining to other clients. (Doc. 167 at p. 12). PWC, however, argues that

the cases cited by the FDIC in support of production are distinguishable. (Doc. 175 p. 10)

       The Court has carefully reviewed all the cases cited by the FDIC in support of its

argument that PWC “other client” information is discoverable and finds their

applicability to the case at bar limited. Indeed, none of the cases to which the FDIC

points involve the production by an accounting firm of audits related to other clients. The

court has conducted its own independent research and found no cases requiring

production by an accounting firm of audits related to other clients where the other audits



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involved the application of an accounting standard which was also at issue in the case

before that court. 4

       Rather several of the cases cited by the FDIC involve production by non-parties of

contractual evidence, the provisions of which were the same as or similar to the

contractual issues in the case before the court deciding the discovery dispute. See Hock

Foods, Inc. v. William Blair & Co., L.L.C., 2011 WL 884446 at *5-6 (D. Kan. Mar. 11,

2011) (production of non-party sales contracts ordered where agreements “substantially

similar” for purpose of determining ambiguity of terms in contract at issue); Sedona

Corp. v. Open Solutions, Inc., 249 F.R.D. 19, 24-25 (D. Conn. 2008) (production of non-

party software licensing contracts ordered where agreements contained “similar”

provisions for purpose of determining meaning of terms); Sunrich, Inc. v. Pac. Foods of

Oregon, Inc., 2003 WL 21088528 at *5 (D. Or. Mar. 4, 2003) (production of non-party

beverage sales contracts ordered where similar pricing provisions at issue). The Court

concludes that these cases are distinct from the case at bar because here the question of

relevance turns upon whether PWC complied with professional standards in conducting

the Colonial audit.

        Other cases cited by the FDIC required production by non-party clients in the

insurance context. See Westport Ins. Corp. v. Wilkes & McHugh, P.A. 264 F.R.D. 368,

371-73 (W.D. Tenn. 2009) (production of non-party documents related to insurance

contracts and claims ordered because relevant to the issue of bad faith); Parkdale Am.,

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  The Court recognizes that Williamson v. PriceWaterhouseCoopers LLP, 2007 WL 7113002 (N.Y. Sup.
Feb. 21, 2007) discussed hereinafter argues for such production in a context where relevancy has been
established in a different litigation context from the case at bar.

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L.L.C v. Travelers Cas. & Sur. Co. of Am., 2007 WL 3237720 at *4-5 (W.D.N.C. Oct. 30,

2007) (production of non-party documents related to insurance contracts and claims

ordered because relevant to the issue of bad faith). However, other courts recognize that

“discovery of “evidence of the [insurer’s] practices concerning and its treatment of

similar claims” is not relevant. See Southard v. State Farm Fire & Cas. Co., 2012 WL

2191651 *2 n. 6 (S.D. Ga. June 14, 2012). Thus, the Court does not find the insurance

context persuasive on the question of discovery in the audit situation before it because

typically insurance cases involve similar if not identical contracts and courts vary on the

issue of whether discovery of how an insurance company handled other claims is

permissible.

        The Court concludes that the question of whether PCAOB inspections of any other

PWC client other than Colonial are “reasonably calculated to lead to the discovery of

admissible evidence” Fed. R. Civ P. 26 (b)(1) is a close one. The FDIC’s showing of

relevance of the PCAOB inspection evidence as it pertains to other PWC clients is

premised upon the PCAOB publicly released inspection reports which “faulted PWC for

its performance in multiple accounting and audit areas similar or identical to those at

issue in this case” (Doc. 167 at p. 8). The case law on point is scant.

        The Court, however, is persuaded by the two cases provided to the Court by PWC

– Williamson v. PricewaterhouseCoopers LLP, 2006 WL 6544389, at *3-5 (N.Y. Sup.

Nov. 13, 2006) 5 and Cal. Pub. Employees Retirement Sys. v. Arthur Andersen LLP, Case

5
  The FDIC provides to the Court a later decision in this case, which it argues reverses the holding in
Williamson, supra. See Williamson v. PricewaterhouseCoopers LLP, 2007 WL 7113002 (N.Y. Sup.
Feb.21, 2007). The Court has carefully reviewed this case and concludes that it does not reverse the prior

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No. 2:97-cv-1899 PHX-RCB(WKU), Doc. No. 302 at 2-4 (D. Ariz. June 9, 2009) both

which dealt with the “other client” issue in the context presented to the Court at this time.

In Williamson, the New York court refused to order the production of documents relating

to eight PWC audit clients other than the client at issue even though those audits involved

an accounting standard at issue in that case because the court concluded the other client

documents were not relevant. Id. at 5. The court explained that “audits are unique and

no two are alike,” and the audits of unrelated clients “would have little semblance to the

PWC audits of the [plaintiff].” Id. (internal quotations and citations omitted). Similarly,

the Arizona court in the Arthur Andersen case refused to order the production of audit

documents pertaining to work Arthur Andersen performed for another client not a party

to that lawsuit on the basis that “[w]hatever might have been done or not done on an

unrelated audit is completely irrelevant to the quality of Arthur Andersen’s . . . work [for

plaintiff].” Id. at 2-3. The Court is persuaded that the relevancy of the PWC’s “other

client” information is tenuous at best.            While the Court can conceive of possible

circumstances where the relevancy of these documents may be made clear, the Court is

not convinced that is the case here.

        Having so concluded, the Court however, sees no basis to restrict the dates of the

inquiry. Any argument that the time period requested is overly burdensome pursuant to

Fed. R. Civ. P. 26 (b)(2)(C) has been negated by the limiting of production solely to


Williamson holding. Rather, the court later in Williamson required production of the eight other PWC
audit clients’ documents because the court found that those documents became relevant for rebuttal
purposes when the defendant’s expert opinions “appear[ed] to be at odds with the defendant’s Audit
Manual.” Id. However, in the case at bar, the Court concludes that information pertaining to PWC’s
work for other clients has not yet been similarly made relevant to the issues in this case.

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Colonial. The Court concludes that any work PWC has performed for Colonial within

this time period is “reasonably calculated to lead to the discovery of admissible evidence”

Fed. R. Civ P. 26 (b)(1) because as a defendant in this action PWC’s relationship with

Colonial and the work it performed for this clients is at relevant to the professional

negligence claim and specifically to the question of the duty PWC owed Colonial..

       Although the Court has concluded that documents pertaining to PWC’s work for

other clients need not be produced, the issue still remains whether the PCAOB documents

relating solely to PWC’s work for Colonial are protected by statutory privilege. The

specific privilege at issue is found in the Sarbanes-Oxley Act of 2002 and protects from

disclosure “documents and information prepared and received by or specifically for the

Board.”   The parties point to three cases where courts address the parameters and

application of this statutory privilege. The cases are as follows: Silverman v. Motorola,

Inc., 2010 WL 4659535 (June 29, 2010), Bennett v. Sprint Nextel Corp., 2012 WL

4829312 (Oct. 10, 2012), Securities and Exchange Commission v. Goldstone, 301 F.R.D.

593 (Aug. 23, 2014). Counsel for PWC argues that the more expansive interpretation of

the privilege as discussed in Bennett applies; while counsel for the FDIC argues that the

narrower reading of the privilege as set forth in Silverman is proper.

       After an independent review of the case law, argument and briefs of the parties,

the Court concludes that all the cases espouse a reading of the statute based on the plain

language of the statute which exempts PwC from producing documents it “prepared . . .

specifically for the Board.” Silverman, id. at *4; Bennett, id. at *4; Goldstone, id.

However, the Court is persuaded by the reasoning of Bennett which was based upon a

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review of a number of documents to which it was alleged the privilege applied. Indeed,

Bennett broadens the privilege somewhat by recognizing that an accounting firm’s

documents reflecting “communications that discuss confidential questions or comments

made by the Board” or an accounting firm’s “development of responses to Board

inquiries” are also privileged. Id. The Court agrees with the Bennett rational which

holds as follow:

              Because the final version of PCAOB comments and . . . . [PwC’s]
              responses to those comments are all privileged, then it also holds that any
              internal . . . [PwC] communications that reveal those comments or the
              work to develop the responses to the comments, are also privileged. All of
              these communications are specifically for the Board because absent the
              inspection, these documents and communications would not exist.

Id. (Emphasis added).        However, as in Bennett, this Court concludes that those

documents which have been “compiled specifically” for PwC by other entities, but

nevertheless were used to respond the PCAOB’s inquiries are not privileged.                Id.

(Emphasis added).

       The Court recognizes that the Bennett rationale potentially leaves room for

argument as to the application of the privilege with respect to specific documents relating

to work PWC performed for Colonial. Thus, the Court will Order that PwC prepare and

produce a privilege log to the FDIC at the time of the production of PCAOP documents

which describes the nature of the documents withheld pursuant to Section 105 (b)(5) (A).

       2. PwC National Office Documents and ESI relating to other clients.

       The FDIC in Request for Production 21 seeks documents relating to the proper

application of sales treatment accounting for the transfer of financial assets (i.e. FAS


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140), or any escalation to the National Office of questions regarding accounting treatment

for the transfer of financial assets from 2005 forward. Further the FDIC requests

electronically stored information relating to “other clients.” This request includes any

financial statement audit PwC performed for “any other client” during this time period if

the audit involved topics similar to those in the FDIC’s complaint, specifically FAS 140.

Again the question is whether audit work performed by PwC for clients other than

Colonial is “reasonably calculated to lead to the discovery of admissible evidence” Fed.

R. Civ P. 26 (b)(1).

       For the reasons discussed more fully above in Section 1., the Court concludes that

the relevancy of documents pertaining to PWC’s work for other clients has not been

demonstrated clearly at this time.   Further, the Court is mindful that the Federal Rules

direct the Court to limit the extent of discovery “when the burden or expense of the

proposed discovery outweighs its likely benefit, considering . . . the importance of the

discovery in resolving the issues.” Fed. R. Civ. Pro. Rule 26 (b) (2) (C) (iii). Given this

directive to weigh the beneficial nature of the documents sought, the Court is persuaded

by PWC’s arguments that documents related to its work for other clients are protected by

PWC’s ethical obligations and some States’ laws on privilege and that the volumes of

documents related to other clients would be unduly burdensome to search for, produce

and redact to protect other clients confidentiality. (Doc. 175 at pp 11-13). Indeed, PWC

represents to the Court that for 2002-2009, the time period for which the FDIC is seeking

audit documents, “PWC maintains on it servers approximately 139,449 separate, distinct

audit work paper databases, containing 8.69 terabytes of data, which works out to billions

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of pages of audit working papers.” (Doc. 175 at p. 13). Thus, given the tangential

relevance of “other client” information when weighed against the burdensomeness of this

discovery given PWC’s ethical duty to protect confidential client information and the

sheer volumes of data concerning unspecified other PWC clients, the Court refuses to

order production of this information pertaining to all clients of PWC other than Colonial.

       3. PWC Internal Manuals and Guidance and Training Materials

       The FDIC seeks production of PWC internal manuals, guidance and training

manuals. PWC does not offer an objection to producing this information. Rather, PWC

represents that it has produced to the FDIC “the complete Table of Contents to its Audit

Manual for every year in the period 2002 through 2008 . . . and that it would produce

additional relevant sections of the Audit Manual if the FDIC would identify which ones it

wanted.” PWC further represents that it produced an “index listing 3,438 items related to

its Learning and Development courses” and offered to produce those documents selected

by the FDIC. (Doc.175 pp. 15-16). Accordingly, the Court concludes that the Motion to

Compel is to be denied as Moot as to this category of documents.

       Accordingly, it is

              ORDERED that the FDIC’s Motion to Compel (Doc.167) be and hereby is

GRANTED in part and DENIED in part as follows:

              1. The PCAOB inspection documents from 2005 through present,

                 excluding those relating to PWC’s clients other than CBG and Colonial

                 Bank, and excluding those which were “prepared and received by or

                 specifically for the Board”, as interpreted by Bennett v. Sprint Nextel

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          Corp., 2012 WL 4829312 (Oct 10, 2010) as “internal . . . [PWC]

          communications that reveal . . . [PCAOB] comments or the work to

          develop the responses to the comments” shall be produce by PWC to

          the FDIC on or before January 5, 2016 at a time and place and in a

          manner mutually convenient to the parties. PWC is DIRECTED also to

          prepare and produce with this production a privilege log which

          describes the nature of the documents withheld pursuant to the

          Sarbanes-Oxley Act of 2002 Section 105(b)(5)(A).

       2. The PWC National Office Documents concerning sales treatment

          accounting of financial assets from 2005 through present excluding

          those relating to PWC’s clients other than CBG and Colonial Bank

          shall be produced by PWC to the FDIC on or before January 5, 2016 at

          a time and place and in a manner mutually convenient to the parties.

       3. The PWC internal audit and guidance and training materials, not

          previously produced in this litigation, shall be produced by PWC to the

          FDIC on or before January 5, 2016 at a time, place and manner mutually

          convenient to the parties. The FDIC is DIRECTED to, on or before

          December 16, 2015, specifically request in writing documents for PWC

          production based on the indices previously produced by PWC.

 DONE this 4th day of December, 2015.

                                  /s/Terry F. Moorer
                                  TERRY F. MOORER
                                  UNITED STATES MAGISTRATE JUDGE

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